  Case 1:21-cr-00034-LEK Document 30 Filed 10/03/22 Page 1 of 7            PageID.66




                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )                 CR. NO. 21-00034 LEK-1
                              )
          Plaintiff(s),       )
                              )                 REPORT OF FINAL PRETRIAL
     vs.                      )                 CONFERENCE, MINUTES AND
                              )                 ORDER
WAYNE INOUYE,                 )
                              )
          Defendant(s).       )
_____________________________ )

                REPORT OF FINAL PRETRIAL CONFERENCE,
                        MINUTES AND ORDER

      A final pretrial conference was held pursuant to CrimLR17.1.1 on October 3,

2022, before the Honorable Rom Trader, United States Magistrate Judge.

Appearing telephonically at the conference were Michael Nammar, Assistant

United States Attorney on behalf of the United States and Thomas Otake on behalf

of Defendant Wayne Inouye.

      Jury trial in this matter will begin at 9:00 a.m. on November 7, 2022, before

the Honorable Leslie E. Kobayashi, United States District Judge. The United

States represented that it will take three (3) trial days to complete the presentation

of its case in chief inclusive of cross examination. Counsel for Defendant Wayne

Inouye represented that it will take one (1) trial day to complete the presentation of

his case in chief inclusive of cross examination.
  Case 1:21-cr-00034-LEK Document 30 Filed 10/03/22 Page 2 of 7          PageID.67




      Counsel for the United States made certain representations on the record

concerning the need for interpreters {CrimLR17.1.1(e)}, the dismissal of certain

counts and the elimination from the case of certain issues {CrimLR17.1.1(f)},

severance of trial as to any co-defendant or counts {CrimLR17.1.1(g)}, the joinder

of any related cases {CrimLR17.1.1(g)}, the use or identification of informants,

use of line-up or other identification procedures, and the use of evidence of prior

convictions of any witness {CrimLR17.1.1(h)}, and whether there are any

percipient witnesses whom the government does not intend to call in its case-in-

chief {CrimLR17.1.1(n)}.



      -X-Counsel   for the United States represented to this Court that Defendant

Wayne Inouye requested disclosures pursuant to Fed. R. Crim. P. 16(a)(1)(C) and

(E) and that the United States has complied with those requests. This Court

therefore finds that Fed. R. Crim. P. 16(b)(1)(A) and (C) apply to Defendant

Wayne Inouye in this case.



      After due consideration of the stipulations, representations and arguments of

counsel, this Court enters the following orders concerning matters discussed at the

pretrial conference:


                                          2
     Case 1:21-cr-00034-LEK Document 30 Filed 10/03/22 Page 3 of 7      PageID.68




1.      Fed. R. Evid. 404(b) - The United States shall serve upon opposing counsel

and file with the Court by October 11, 2022 a written statement of intent to use

evidence of any Defendant's acts covered by Fed. R. of Evid. 404(b). Defendants

shall oppose the use of such evidence by filing motions in limine as hereafter

provided.



2.      Motions in limine -

        a.    All motions in limine shall be filed with the Court and served upon

opposing counsel by October 18, 2022.

        b.      Memoranda in opposition to any motions in limine shall be filed

with the Court and served upon opposing counsel by October 23, 2022.



3.      Brady and Giglio Material - The United States shall complete its production

of evidence favorable to the Defendant on the issue of guilt or punishment, as

required by Brady v. Maryland, 373 U.S. 83 (1963) and related authorities and

impeachment material, cooperation agreements, plea agreements, promises of

leniency and records of criminal convictions, required by Giglio v. United States,

405 U.S. 150 (1972) and its progeny defendants herein by October 18, 2022. The


                                          3
  Case 1:21-cr-00034-LEK Document 30 Filed 10/03/22 Page 4 of 7          PageID.69




United States is under a continuing obligation to produce Brady and Giglio

material which may come into its possession right through the trial of this matter.



X 4. Jury Instructions -

             a.     Jury instructions shall be prepared and submitted in accordance

with LR51.1. The parties shall serve upon each other a set of proposed jury

instructions on or before October 18, 2022. The proposed instructions shall

include an "elements which must be proven by the prosecution" instruction for

each offense charged and proposed language to fill in the charge and elements of

the crime blanks of 9TH CIR. CRIM. JURY INSTR. 1.02 (1995).

             b.     The parties shall thereafter meet and confer for the purpose of

preparing one complete set of agreed upon jury instructions. The jury instructions

which are agreed upon shall be filed with the Court.

             c.     Supplemental instructions which are not agreed upon and a

concise argument supporting the appropriateness of the proposed instruction shall

be filed with the Court. All objections to the non-agreed upon instructions shall be

in writing and filed.

             d.     All filings required by subparagraphs b and c above shall be

completed by October 25, 2022.


                                          4
     Case 1:21-cr-00034-LEK Document 30 Filed 10/03/22 Page 5 of 7          PageID.70




X 5. Witnesses - Pursuant to stipulation by all parties, each party shall serve upon

opposing counsel and file a final comprehensive witness list indicating the identity

of each witness that the party will call at trial in each respective case-in-chief by

October 31, 2022.



6. Exhibits -

         X a. The parties shall meet and exchange copies or, when appropriate,

make available for inspection all exhibits to be offered and all schedules,

summaries, diagrams and charts to be used at the trial other than for impeachment

or rebuttal. Upon request, a party shall make the exhibit or the underlying

documents of any exhibit available for inspection and copying. The parties shall

meet and confer regarding possible stipulations to the authenticity and

admissibility of proposed exhibits.

        b.The original set of exhibits (in individual file folders, exhibits marked, file

folders labeled) and two copies (in binders, exhibits marked and tabbed) and a list

of all exhibits shall be submitted to the Court by the Friday before trial.



7.      Stipulations - Stipulations shall be in writing and shall be filed with the

Court by October 25, 2022.


                                            5
     Case 1:21-cr-00034-LEK Document 30 Filed 10/03/22 Page 6 of 7          PageID.71




8.      Voir Dire Questions - The parties shall prepare in writing and submit to the

court any special voir dire inquiries they wish the judge to ask the jury panel by

October 25, 2022.



9.      Trial Briefs - Each party shall serve upon opposing counsel and file with the

Court by October 25, 2022, a trial brief on all significant disputed issues of law,

including foreseeable procedure and evidentiary issues, setting forth briefly the

party's position and the supporting arguments and authorities. If a defendant

objects to the filing of a full trial brief because such a filing would disclose a

theory of defense, that defendant shall file a trial brief stating such objection and

briefing the Court on matters not covered by such objection.



X       10. Jencks Disclosures - Disclosures to be made Friday before trial..



11.     Other Matters -



        This order shall remain in effect until modified by the Court and shall be

modified by the Court only to prevent manifest injustice.


                                            6
Case 1:21-cr-00034-LEK Document 30 Filed 10/03/22 Page 7 of 7   PageID.72




   IT IS SO ORDERED.

   DATED: Honolulu, Hawaii, October 3, 2022.



                              Andrade
                             Rom A. Trader
                             United States Magistrate Judge




                                   7
